Case 2:05-cr-20250-.]PI\/| Document 26 Filed 07/20/05 Page 1 of 2 Page|D 28

IN THE UNITED s'rATEs DISTRICT CoURT F"‘*~fl’i> 392 D.c.
FOR THE WESTERN DIsTRIcT 0F TENNESSEE
WEsTERN DIVIsIoN 95 JUL 20 AH l|= 26

 

UNITED STATES OF AMERICA

 

 

 

v.
EBONY CLAY 05cr20250-2-Ml
ORDER ON ARRAIGNMENT
This cause came to be heard on g 0 S'_the United States Attorney
for this district appeared on behalf of the g emme , and the defendant appeared in person and with
counsel:

M tag cg ¢~Mq...l., . . .
NAME £ who ls Retalned/Appomted.

The defendant, through counsel, waived formal arraignment and entered a plea of not guilty.

 

All motions shall be filed within thirty (30) days from the date hereof unless, for good cause
shown to a District Judge, such period is extended

\/The defendant, who is not in custody, may stand on his present bond.
The defendant, (not having made bond) (being a state prisoner) (being a federal
prisoner) (being held Without bond pursuant to BRA of 1984), is remanded to the custody

of the U.S. Marshal. .
K @¢v»ar

UNITED STATES MAGISTRATE ]UDGE

 

CHARGES - 18:1343 and 2
FRAUD BY VVIRE, RADIO, OR TELEVISION

Attorney assigned to Case: C. McMullen

Age: al

Thls document entered on the docket sheet fn compliance
with Ftu|e 55 end/or 32(b} FHCrP on

 

   

UNITED sTATE DRISTIC COUR - WTERN D's'TRCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 26 in
case 2:05-CR-20250 was distributed by faX, mail, or direct printing on
July 21, 2005 to the parties listed.

 

 

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Honorable .l on l\/lcCalla
US DISTRICT COURT

